                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


FREESTATE JUSTICE, INC.,                    *
                                            *
                      Plaintiff,            *
                                            *
v.                                          *       Case No. 1:22-cv-02410
                                            *
JEREMY LAMASTER,                            *
                                            *
                  Defendant.                *
__________________________________/

                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, FreeState Justice, Inc., through its

undersigned counsel, hereby voluntarily dismisses this action without prejudice.



Dated: December 9, 2022                     Respectfully submitted,



                                                   /s/
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                                            Counsel for Plaintiff
                                     CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of December 2022, a copy of the foregoing was served

via first class and electronic mail upon:



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                                            Defendant


                                                /s/ Lindsey A. White
                                                Lindsey A. White




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